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 1                                   UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3 Lamont Garner Karriem,                                    Case No.: 2:20-cv-00884-JAD-VCF

 4             Plaintiff
                                                        Order Overruling Objections to Magistrate
 5 v.                                                     Judge’s Order and Referring Case to
                                                             Magistrate Judge for Screening
 6 Cellco Partnership Inc., d/b/a Verizon
   Wireless, Inc.,                                                       [ECF No. 6]
 7
          Defendant
 8

 9            Pro se plaintiff Lamont Garner Karriem sues Cellco Partnership, Inc. for allegedly

10 sharing his private data with law enforcement, which led to his arrest in 2018.1 Magistrate Judge

11 Cam Ferenbach reviewed Karriem’s complaint and dismissed it without prejudice pending the

12 outcome of any state-court criminal proceeding about the matter.2 Karriem now objects to the

13 magistrate judge’s finding, arguing that because there is no pending proceeding, Younger v.

14 Harris does not bar his lawsuit.3 Because Karriem filed an amended complaint that addresses

15 the magistrate judge’s concerns, I overrule his objections as moot and refer this case back to the

16 magistrate judge to screen the amended complaint.

17            When a party objects to a magistrate judge’s recommendations on a dispositive issue, the

18 district court must review the challenged findings and recommendations de novo.4 Upon review,

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     1
         ECF No. 5 (complaint).
22   2
         ECF No. 4.
23   3
         ECF No. 6 (objection).
     4
         28 U.S.C. § 636(b)(1)(C).
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 1 “the district judge may affirm, reverse, or modify, in whole or in part” the report and

 2 recommendations or may “recommit the matter to the magistrate judge with instructions.”5

 3             When Judge Ferenbach dismissed Karriem’s complaint earlier this year, he did so

 4 because it appeared that a state-court proceeding was pending, so any related action was barred

 5 by Younger v. Harris.6 Karriem was given leave to amend his complaint after the state-court

 6 proceeding was complete, at which point the court would screen his complaint again.7 Karriem

 7 now objects to the application of Younger to this matter because he maintains that there is no

 8 pending state-court case against him.8 In the time since Karriem filed his objection, he also filed

 9 an amended complaint, addressing the magistrate judge’s concerns.9 His amended complaint

10 states that “there is no pending state criminal prosecution nor was there ever.”10 So because

11 Karriem’s amended complaint resolves these concerns, I overrule his objections as moot and I

12 refer this matter back to the magistrate judge to screen Karriem’s amended complaint.

13             IT IS THEREFORE ORDERED that Karriem’s objection to the magistrate judge’s order

14 [ECF No. 6] is OVERRULED as moot. This case is REFERRED to the magistrate judge to

15 screen Karriem’s amended complaint.

16                                                              _______________________________
                                                                U.S. District Judge Jennifer A. Dorsey
17                                                                                    October 20, 2020

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20   5
         Id. § 636(b)(1); L.R. IB 3-2(b).
     6
21       ECF No. 4 at 3.
     7
         Id.
22   8
         ECF No. 6 at 5.
23   9
         See ECF Nos. 6, 11 (amended complaint).
     10
          ECF No. 11 at 2.

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